Case 2:10-cv-08888-CJB-JCW Document 85352 Filed 04/20/11 Page 1of3

i as sy
fe ae ns w 24
‘ ve se 2.40 -02179-CJB-SS Document.983-3 Filed 01/12/11 Page 1 of 3
YAO? “
oe at a RE: OIL SPILL by “Deopwater Horizon”
PV oek DIRECT FILING SHORT FORM’
b

al., No. 10-2774; adopt and Incorporate the Master Answer [Rec, Dos, 244] to the Complaint and Potidon of Triten

[Rec, Doc, 879] for private economic losses (“B1 Bundle") filad in MOL No. 2178 (10 md 2179); and/or intervenes
Into, join and otherwise adopt tha Master Complaint [Rec, Doc. 881] for pest-explosion injuries (“83 Bundle")

INDIVIDUAL GLAINY

* Employee Name Viinoc Chal Ast. Suarece Nome

<A wpithorized by Order of the Court, Civil Action No. 10 mc 2178 Rec. Doc. 882
ples of said Order having also bean file“ in Civil Actions No. 10-8888 and 10-2771)

JUOGE CARL BARBIER
ne Sey ee a _ a
PYF Fairs 0 Re PL ererLly Sree
Riis eek _ a i Pan 5 an
hice el Ware are rele Fe] Lee

int and Petidon of Triton Agest Leaaing GmbH, et

Leasing Gmbh, at al., in No, 10-2774; and/or Intervene into, join and otherwise adopt the Mastar Complaint

BORINESS-CLAIM Ss

[Job Title # Donerson pe. AA Elich Taree LY _.
cnroapie 3, “Tsle, LA 10868,

Fmt The Mediarocs 6A.
ore piter, Floride 33458

Mall Address

ny
ny
Claim filed with SP? YES oO NO oO Claim Flled with GGCF?; YES Cj NO (]
tryes. BP Claim No.: If yor, Claimant identification No.:

t Type (Please check all that apply):

Damage or deatruction to real er personal praparty Fear of Future injury and/or Medical Monitoring
Eaminga/Prom Loss Logs of Subsiatence Use of Natural Resources
Personal Injury/Dealh Removal and/or clean-up costs
Other
1 This form should be (led with the US. District Court for the Eastern District of Louisiana In New Orleans, Loutstana tn Chil Action No. 10-8888. While this Direct

Filing Short Form ls to be filed In CA No, 10-8888, by prior ordar of the Court, (Rec. Det. 246, CA. No, 10-2771 and Rec. Doc, $82 In MOL 2179), the filing of thi form
In CA. No. 10-8888 shall be deemed ta be simultaneousty Aled In CA, 10-2771 ahd MOL 2479, Plaintiff Listson Counsel, after being notified electronically by the Clark
of Court of the filing of this Short Form, shall promptly serve this form through the Lexis Nexte service cystam on Defense Lialean.

: f

Th

@ fing of tha Direct Fiting Short Form shell also serve in Hew of the requirement of « Paint to fe x Plaintit Profs Ronn.

nen

Sts,

Case 2:10-cv-08888-CJB-JCW Document 85352 Filed 04/20/11 Page 2 of 3

“4

. Case 2:10-md-02179-CJB-SS Document 983-3 Filed 01/12/11 Page 2 of 3
‘Brief Description:

4. For earnings/profit oss, property damage and lose of pubsistence uve claims, describe the nature of tha Injury. For claime
involving real estate/property, Include the property location, type of property (resi¢enilal/commercial), and whether physical
damage occurmad, For claims relating (o fiahing of eny type, include the type and location of fishing graunda at isaue.

- Wie XS. onalle to eo He geakvod of

>< x o £00.08 o z Aho \ low
Ahe oO‘ and Comer, ne dispersant, winick ik
Anoxic porsanons An humans ad vii Vite. AN Paviae
Mike and \ lal « ‘4 ends hate é .
XX cannot lave in muy hose 2 work. sicmy business
beaxe of the pccumulstion of oil and eo ieenous Covent.

'¢. For personal injury claims, deecriba the injury, how and when it was guetained, and identity all hepith caro providers a

employers 2008 to present and complete authorization fors foreach. yn. taste inAmy mm
$\c soe at ae fo) weathince at mV GC

I + Oa wf 2 ‘ net. r) tS ar, hy ¢ ry ao) we pn [ood
3 £ Creat \ 1s <M over
mus ‘ K
te hedp EX CaCTN eTrnace wiomor” \ess ee ne es
and yria Caines ONSTAR nSSo coordina rio mbling
AW eran ANAS) Ae nine and AnD lol u Ay Vision QOCr

A L s Ader cues, Taundice , Anxic A SSION ,Semchehy
3. for postexpiosion claims related to reup for rambval, Inciude your role in the cfpinup ctivities, the name of your
employer, and where you were working.

reornes nc OCADk é. MACENE ne BINNS, we

Ane. o\\ Ane. “rts wore’ nv ake Prone doe, Gulf, ov¢ c\e
pur Snoes and anurhi anc: oeniinis rar is Us.
to fife a Plait? Profite Form.

The fling of this Direct Filing SI Form ago serve in Hed of the requirement of « Prin
Case 2:10-cv-08888-CJB-JCW Document 85352 Filed 04/20/11 Page 3 of 3

Case 2:10-md+02179-CJB-SS Document 983-3 Filed 01/12/11 Page 3 of 3

Please chock the box(es) below that
A Cit) in a a | bs bo A ar ae 7

TL

you think apply to you an
P p Gla

d your claims:
iy Dariac ; file E

und

i ta

Commercial fieherman, shrimper, crabber, or oysterman, of tha owner and operator of a business involving fishing, shrimping,
crabbing or cysisring,

Sentood processcr, distributor, retail and seafood marti, or restaurant owner and operator, or an employes thereof.

Fiecraationel bueinece owner, oporator or worker, iicluding # recreational fishing busingss, commendal guide service, of charter
fishing businass who eam their living through the use of the Guif of Mexico.

we

2

3

KO Commercial business, buelness awnor, operator or worker, Including commearcin! divers, offsnore olifiek! service, rapaly and
supply, rael estate agents, snd supply companias, or an employee (hereof.

MG. Recreational aport fisharmen, recreational diver, oeachgoar, oF cecreationel booster.
Plant end dock worker, including commercial seafood plant Worker, longshoreman. of ferry operator.

Owner, laseor, or lessee of real property alleged to be damaged, harmed or impacied, physically oF econanicelly, including
lessee of oyster beds.

6

f

a Hotel owner and operator, vacation rental owner and ag. nt, or Bw those who earh thelr living from the touriam Industry.
xe Bank, financial ngtitution, of retell businexs that suffered ioenes a6 a result of the pid.

4. Boat captain or crew invotved In the Veauala of Opportunity program.
2. Worker involved in decontaminating vesaete that cama Into contact with oll andor chamical dispersanta.

SO. Vanes! captain or crew who was not Involved In tha Vessela of Opportunity program but whe wore exposed to harmful chamicale,
odors and emissions during post-explosion clean-up activities.

a Claan-up worker or beach personnel involved in dasrrup activities along shorefines snd Intercoastal and intertidal zones.

40.  Pereon who utllizes natural fesources for subsistence. 2 ¢
xe | one € 0 o8 natura guroes for subslctenss We a saucues c
Oe Damage Related to Clean DD tein

8, _ Ratidant who lives or works In close proximity to coastal waters.
.  otner KE Siders o \iwes, ior

Both BP and the Gulf Coast Clalms Facility (GCCF*) are hereby authorized to retease to the Defendants In MDL
2179 all information and documents submitted by above-named Plaintiff and information regarding the status of any
payment on the claim, subject ta such information being tread as “Confidential Access Restricted” under the Order
ing Confidentiality (Pre-Trial Order No. 11), and subject to full coples of same being made available to beth

intiff (ar his attorney if

Cyessice Hagan, Mined Child at Maude Thanas

Print Name

Ppl 4 20\\

. The filing of this Direct Filing Short Form shal eleo xerve in eu of the requirement of » Plaintit to fe # Plalnal Profie Form.

